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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


 FEDERAL DEPOSIT INSURANCE
 CORPORATION AS RECEIVER FOR
 GUARANTY BANK,

                       Plaintiff,                               Civil Action No. A-14-cv-129-XR

 -v.-

 DEUTSCHE BANK SECURITIES INC.,

                       Defendant.


                                    JURY QUESTIONNAIRE

To help the Court and attorneys select a jury to serve, please complete the following questionnaire.
The purpose of these questions is not to ask you unnecessarily about personal matters. It is simply
to determine whether you may be an appropriate juror for this particular case.
The information you provide to the Court in this questionnaire will be confidential and will be
provided only to the parties, the parties’ lawyers and their assistants for the sole purpose of
selecting the jurors who will hear this case. As a potential juror, you are sworn to answer each
question under oath. That means you must answer all the questions completely and truthfully.
Remember that there are no “right” or “wrong” answers; only truthful answers.
Please do not discuss the questionnaire or your answers with anyone. It is important that the
answers be yours and yours only. This means that you are prohibited from conducting any research
or investigation regarding this case until you are formally notified by the Court that you have been
released from jury duty in this matter. The prohibition on discussing the case with anyone else
and/or doing any investigation or research includes using e-mail, Facebook, Twitter, Instagram,
Snap Chat, instant messaging, Google, Yahoo, or any other form of electronic communication for
any purpose relating to this case.
Please do not write your name on any page other than page 1 and the Declaration page, which is
the last page of this Questionnaire. Please print your answers and use black or blue ink to make
sure your answers are legible. Do not write on the back of any page. If you need more room for
any of your answers or want to make further comments, please use the extra space at the end of
this questionnaire and note the question number you are writing about.
Thank you for your cooperation.


Your Name:________________________________________ Your Juror No.:________




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                                                                                                   Juror No. _____
Age:            Gender:  Male  Female
Ethnic Background:  African-American  Asian  Caucasian  Latino/a  Native American
 Other:___________
1. Are you:  Married (Years _____)         Single, never married  Widowed            Divorced      Separated
    Living with partner (Years _____)
2. What is your address? ____________________________________________________________________
3. Do you:  Rent        Own  Live with Relatives/Others Years at current address:
4. What is the highest level of education you completed?  Less than High School  Some High School
    High School/GED            Trade school          Some college  College degree  Advanced Degree
   Please list any degrees you have from college, technical/vocational, or graduate school and also list where
   you got the degree(s) and in what field of study:
   Do you have plans to further your education?  Yes  No If YES, what field? ______________________
5. What is your total household income per year, before taxes:  <20,000  $20,000-$40,000
    $40,000-$60,000  $60,000-$80,000  $80,000-$100,000  More than $100,000
6. What is your current job status? (Check all that apply):  Full-time  Part-time  Self-employed
    Homemaker  Looking for work (how long? ______)  Student  Disabled  Retired
    Unemployed (how long? ______)
7. How long have you worked for your current employer?__________________________________________
8. Please list your employment history for your three most recent jobs
   Dates                       Employer                       Job Description




                                        Yes  No If YES, please describe:
9. Do you supervise other people at your job?
   _______________________________________________________________________________________
10. Have you ever participated in or supported any charitable, civic, social, union, professional, political,
   consumer, or religious organizations?  Yes  No If YES, please tell us what group(s) and how you
   were involved:___________________________________________________________________________
   _______________________________________________________________________________________
11. Have you, or someone close to you, ever owned a business?        Yes, self  Yes, someone close  No
   If YES, please describe:
12. Have you ever served in the military?  Yes       No If YES, what branch?
13. Do you, or anyone close to you, have experience, education, training or work involving any of the following
   fields?
   Law, legal field:                       Yes, self         Yes, someone close           No
   Law enforcement:                        Yes, self         Yes, someone close           No
   Real Estate Appraisals:                 Yes, self         Yes, someone close           No
   Foreclosures:                           Yes, self         Yes, someone close           No
   Banking:                                Yes, self         Yes, someone close           No
   Accounting/finance:                     Yes, self         Yes, someone close           No
   Realtor:                                Yes, self         Yes, someone close           No
   Real Estate Investments:                Yes, self         Yes, someone close           No

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   Home Mortgage Industry:                 Yes, self         Yes, someone close          No
   Credit Ratings:                         Yes, self         Yes, someone close          No
   Insurance:                              Yes, self         Yes, someone close          No

14. Have you, or someone close to you, ever worked in the legal profession, including working for any court,
   judge, lawyer or law firm?  Yes  No If YES, please explain:________________________________
   ______________________________________________________________________________________
15. Spouse’s Name:                             Spouse’s Employer:
   Spouse’s job description:                                 Highest grade completed: ____________________
                            Yes  No
16. Do you have any children?             Ages & occupations of adult children:
   _______________________________________________________________________________________
17. Do you consider yourself a leader?  Yes
                                         No Why?:
   _______________________________________________________________________________________
18. How much confidence do you have in the people who run major companies in our country?
    (None at all)   1      2      3       4      5       6     7            (Very much)
19. How much confidence do you have in the federal government?
   (None at all)       1       2      3      4       5       6      7       (Very much)
20. How much confidence do you have in the people who run financial institutions?
   (None at all)       1       2      3      4       5       6      7       (Very much)
21. Are you good at math?
   (Not at all)        1       2      3      4       5       6      7       (Very good)
22. The condition of the average person is getting worse, not better.
   (Strongly Disagree)         1      2      3       4       5      6       7       (Strongly Agree)
23. Most people in public office are not really interested in the problems of the average person:
   (Strongly Disagree)         1      2      3       4       5      6       7       (Strongly Agree)
24. Do you believe there should be a lot more government regulation of our banking and financial industry in this
   country?
    (Strongly Disagree)      1       2       3      4       5    6       7       (Strongly Agree)
25. Do you hold any leadership positions at work or in the community?  Yes  No If YES, what positions
    do you hold:___________________________________________________________________________
26. How familiar are you with the process of purchasing a home?  Very Familiar  Somewhat Familiar
     Not Familiar
27. Have you, or someone close to you, ever purchased a home and/or real estate?
     Yes, I have  Yes, someone close has  No If YES, explain:
    _______________________________________________________________________________________
    _______________________________________________________________________________________
28. Have you, or someone close to you, ever experienced a foreclosure on a home and/or property?
    Yes, I have  Yes, someone close has  No
   If YES, who and what if anything resulted?
29. Have you, or someone close to you, ever applied for a home loan?
    Yes, I have      Yes, someone close has       Unsure       No

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   If yes, please explain:
30. Have you, or someone close to you, ever had a dispute with a bank or mortgage company?
    Yes, I have      Yes, someone close has       Unsure      No
   If yes, please explain:
31. Have you, or someone close to you, ever had a loan application rejected by a bank?
    Yes, I have      Yes, someone close has       Unsure      No
   If yes, please explain:
32. Have you, or someone close to you, ever had a credit card application rejected by a bank?
    Yes, I have      Yes, someone close has       Unsure      No
   If yes, please explain:
33. Have you, or someone close to you, ever had a home loan application rejected?
    Yes, I have      Yes, someone close has       Unsure      No
   If yes, please explain:
34. Do you have any opinion about, or impression of the cause of the mortgage crisis of 2006-2010?
    Yes  No          If YES, please explain:
35. When people sue large corporations, how often do the cases have some merit?
        Almost never          Rarely        Often         Almost always

36. When you make important decisions, do you ultimately rely on the big picture or critical details?
        Big Picture           Critical Details
37. When it comes to really important questions, scientific facts don’t help very much.
        Strongly agree        Agree         Don’t Know           Disagree      Strongly Disagree

38. How much of your working life has involved supervising other employees?
   (None of it)        1      2      3       4      5       6      7       (All of it)

39. Have you ever served as a juror?  Yes  No If YES, in what year(s) did you serve as a juror?
       What type of case?  Civil  Criminal Were you the foreperson?  Yes  No

40. Have you ever participated in a mock jury exercise?  Yes  No If YES, in what year(s) did you
   participate?
       What type of case?  Civil  Criminal Did it involve residential mortgage loans?  Yes  No

41. How much do you tend to participate when you are in a group discussion?
    (Not at all) 1     2      3        4     5      6       7      (Very much)
42. How often do you find yourself functioning as one of the leaders in group situations?
    (Never) 1          2      3        4     5      6       7      (Very frequently)
43. Have you, any immediate family member, or an employer ever:
    Been a witness in court?  Yes  No If YES, explain:
    Filed a lawsuit?           Yes  No If YES, explain:                                            ______
    Been sued?                 Yes  No If YES, explain:
    Wanted to file a lawsuit but for some reason could not?      Yes       No If YES, explain:__________
    _______________________________________________________________________________________
44. Damages awards in lawsuits today are:  Too High  Reasonable  Too Low  No opinion

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45. Please circle if you, or someone close to you, know, have hired, or worked with any of the companies or
   individuals listed below:

    Accurity Qualified Analytics          Navigant                                Kelli Glass
    AlixPartners LLP                      NewOak Capital LLC                      Myron Glucksman
    Analysis Group Inc.                   NoCostRefi.com                          David Grais
    Analytic Focus LLC                    Ocwen Financial Corporation             Jerry Hausman, Ph.D.
    Ankura                                ResCap Liquidating Trust                Whitney Ifcher
    AVMetrics LLC                         Residential Mortgage Capital            Lee Kennedy
    Barclays                              Residential Funding Corporation         James Johnson
    Blum Capital Advisors LLC             Residential Accredit Loans, Inc.        Patrick King
    CIT Bank, N.A.                        SCME Mortgage Banks, Inc.               Frank Lucco
    Clayton                               Simpson Thacher & Bartlett LLP          Michael Lustig
    Commercial Capital Bank, FSB          Sperlinga Advisory LLC                  Linton Mann III
    CoreLogic                             SpoLoan Mortgage Banking                Kathryn Matthews
    DataQuick                             Standard & Poor’s                       James Meintjes
    Davis, Gerald & Cremer, P.C.          Temple Inland                           Norman Miller, Ph.D.
    Deutsche Bank Securities Inc.         Whitclem Enterprises Inc.               Dawn Molitor-Gennrich
    (DBSI)                                Yetter Coleman LLP                      Thomas Murray
    Federal Deposit Insurance             Anilesh Ahuja                           Lisa Paulson
    Corporation (FDIC)                    Prasanth Akapeddi                       Thomas Raburn
    Fitch                                 Arnold Barnett, Ph.D.                   Karen Ramallo
    GMAC Residential Funding              Vickie Beal                             Shannon Ratliff
    Corporation                           Steven Beck                             Stephen Ryan, Ph.D.
    GMAC-RFC Holding Company,             Kumarjit Bhattacharyya                  Edward Schultze
    LLC                                   Leonard Blum                            Waqas Shaikh
    Grais & Ellsworth LLP                 Michael Calcote                         Richard Spinner
    Greylock McKinnon Associates          Bryce Callahan                          Joel Spolin
    Inc.                                  Debash Chatterjee                       Joseph Swartz
    Guaranty Bank                         John Contino                            Walter Torous, Ph.D.
    Guaranty Financial Group Inc.         Charles Cowan, Ph.D.                    Susan Valenti
    Guaranty Residential Lending          Colin Cox                               Stanley Wu
    HomeComings Financial                 Jacqueline Doty                         Adam Yarnold
    Network, Inc.                         Michael Dryden                          R. Paul Yetter
    IndyMac Bank, F.S.B.                  Kenneth Dubuque                         Jonathan Youngwood
    IndyMac MBS, Inc.                     Jack Falconi
    IndyMac Bank                          John Finnerty
    Moody’s                               Andrew Frankel
    MortgageIT, Inc.                      Mark Ginsberg
If you circled any of the companies or individuals listed in question no. 48, please explain who and the nature of
the relationship:

   _______________________________________________________________________________________
46. Have you had any negative experiences with, or do you have any negative impressions of, any of the
   companies or individuals listed above? Please explain: __________________________________________
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    _______________________________________________________________________________________
47. Is there anything you are aware of that may affect your ability to be a fair and impartial juror in this case?
      Yes  No If YES, Please explain:
    _______________________________________________________________________________________

                                          Additional Space (If Needed)




I certify that my answers to the above questions are true and accurate,
Your signature:                                                                    Date signed:

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